                                UNITED STATES DISTRICT COURT
                                 DISTRICT OF MASSACHUSETTS


                                                     )
LISA TARDIFF,                                        )
                      Plaintiff,                     )   C.A. No. 23-cv-40115-MRG
                                                     )
                           v.                        )
                                                     )
LABORERS INTERNATIONAL UNION OF                      )
NORTH AMERICA LOCAL UNION 609,                       )
CHRISTOPHER MURPHY, and WENDALL                      )
GARDNER,                                             )
               Defendants                            )
                                                     )


                             DEFENDANTS’ MOTION TO DISMISS
                              FOR FAILURE TO STATE A CLAIM

          The Defendants, Laborers International Union of North America Local Union 609,

Christopher Murphy, and Wendall Gardner, hereby move this Honorable Court to dismiss

numerous claims brought by the Plaintiff because they fail to state a claim pursuant to Fed. R.

Civ. P. 12(b)(6).

          This motion is supported by a memorandum of law. Defendants request dismissal of the

following counts in their entirety:

      •   Count V (Assault and Battery vs. Gardner)
      •   Count VI (Negligent Supervision against Local 609)
      •   Count VII (Intentional/Negligent Infliction of Emotional Distress against Gardner and
          Murphy)
      •   Count VIII (Intentional/Negligent Infliction of Emotional Distress against Local 609)
      •   Count IX (151B Gender Discrimination)
      •   Count X (Title VII Gender Discrimination)
      •   Count XII (Mass. PFML Interference)1


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    Please note that due to misnumbering in the Complaint, there is no Count XI.
Defendants further and/or alternatively request that Mr. Murphy and Mr. Gardner be individually

dismissed from the following counts brought against “All Defendants.”

   •   Count I (151B Discrimination)
   •   Count II (Title VII Discrimination)
   •   Count III (151B Retaliation)
   •   Count IV (Title VII Retaliation)
   •   Count IX (151B Gender Discrimination)
   •   Count X (Title VII Gender Discrimination)
   •   Count XII (Mass. PFML Interference)

       For the reasons further articulated in the Defendants’ Memorandum of Law, the

Defendants respectfully request that their motion be granted.



                            REQUEST FOR ORAL ARGUMENT

       Pursuant to L.R. 7.1(d), Defendants wish to be heard because they believe oral argument
may assist the Court.


                                                    Respectfully submitted,

                                                    LABORERS INTERNATIONAL UNION OF
                                                    NORTH AMERICA, LOCAL UNION 609,
                                                    CHRISTOPHER MURPHY, AND WENDALL
                                                    GARDNER

                                                    By their attorneys,

                                                    /s/ James A.W. Shaw
                                                    James A.W. Shaw, Esq. BBO# 670993
                                                    Jocelyn B. Jones, Esq. BBO #640958
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Dated: November 24, 2023                            jjones@segalroitman.com




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                                  RULE 7.1 CERTIFICATE

               I hereby certify that pursuant to L.R. 7.1(a)(2) I have conferred with opposing
counsel and attempted in good faith to resolve or narrow the issue.

                                                     /s/ James A.W. Shaw
                                                     James A.W. Shaw


                                CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the CM/ECF system will be sent
electronically to the registered participants as identified on the NEF (NEF) and paper copies will
be sent to those indicated as non registered participants on November 24, 2023.

                                                     /s/ James A.W. Shaw
                                                     James A.W. Shaw




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